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                            EXHIBIT 10
Case 1:15-cv-00355-RC
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                           **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

PSARA ENERGY, LTD.,                             §
                                                §
       Plaintiff,                               §     CIVIL ACTION No. 1:15-cv-355
                                                §
v.                                              §     JUDGE RON CLARK
                                                §
SPACE SHIPPING, LTD., et al.,                   §     VSL
                                                §
       Defendants.                              §

                                   ORDER OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendants

jointly dismiss this case without prejudice to any other related cases pending, with each party to

bear its own fees and costs.

       IT IS ORDERED that this case is DISMISSED WITHOUT PREJUDICE to any other

related cases pending, with each party to bear its own fees and costs.

       The clerk is directed to CLOSE this case.

       So ORDERED and SIGNED this 7 day of January, 2016.




                                                     ___________________________________
                                                     Ron Clark, United States District Judge




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